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                    UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
______________________________________

In re the Matter of:                                                 Case No.: 15-05557-jtg
                                                                     Chapter 13
 RONALD HANES,                                                       Hon. John T. Gregg
                                                                     Filed: October 8, 2015
            Debtor.
______________________________________/

                                  CERTIFICATE OF SERVICE

        On the date below, the Debtor's Fourth Pre-confirmation Chapter 13 Plan and this
Certificate of Service of same was filed in this matter via the ECF\CM System and were served
upon the persons listed below and the Chapter 13 Trustee via First Class U.S. Mail:

                                  Michelle M. Wilson, US Trustee
                                     Office of the U.S. Trustee
                                  The Ledyard Building, 2nd Floor
                                   125 Ottawa, NW, Suite 202R
                                     Grand Rapids, MI 49503

          I declare that the above statements are true to the best of my information, knowledge and
belief.




Dated: June 3, 2016                                          /s/ Michael S. Mahoney
                                                             Michael S. Mahoney (P71428)
                                                             Attorney for Debtor
                                                             912 Centennial Way, Suite 320
                                                             Lansing, MI 48917
